CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

ft//W

B?.?'{{Xllcla| Fbrm 2?) {1?!09)

  

United &ates Bankruptey Oourt
Eastern Districi Of New Ycrk

 

Case Nc.. ' 11-?1596
Debtor(s] imp mr

mma-__

FEAFHH\AA“ON AMV| ENT COVER S~lEEI'

Thisform must be completed' in its entirety and filed, with the reaffirmation agreement attached, within thetime set
under little 4008. lt may be filed by any party to the reaffirmation agreement

1. O”editor s Name: Wntander Consumer USA lne, DB¢\ Drive Flnancia|

emount of the debt subject to this $ 18,905.48 on the date of bankruptcy

2' reaffirmation agreement $

18,905.48 to loe paid under reaffirmation agreement

19.05% prior to bankruptcy
3. Annual percentage rate of interest: 19.05% under reaffirmation agreement l
( X erd Fete Adjustab|e Rate) `=

4. Rep'ayment terms {if fixed rate): $ 508.60 per month for 57 months

5. Oollatera|,ifany,sewringthe debt: Cl,lrrentmarketvalue: $ _ 17,5£}0.00
Desoription: 07 tEEPG'w’ANDCl-ll:'ROK

 

f 6. Does the creditor assert that the debt is nondischargeable? ___Yes X No
l (lf yes, attach a deotaration setting forth the nature of the debt and basis for the contention that the debt is l
nondischargeable ) l;
Det)tor"s'Schedule l _,J l:ntrl es , Wbm" 51“50"Te`and E“W 555
as Stated on Reaffirrnation Dg'eement
- 1b :. is !
7A. Total monthly income from $ ’1 3 'B 5 7B. lvlcnth|y income from all $ 215 3 5 5
&hedule l, line 16 ”""”“*"‘“"“;o sources after payroll deductions _‘_c_,° §
BA Total monthly expenses from 1043 q 23 g_.‘\ t
%edu|e J, line 1 8 $ _9»%_ BB. N|onth|y expenses $___ §
QA. Tota| monthly payments on QB. Total monthly payments on
reaffirmed debts not listed on $ 0 reaffirmed debts not included in $ Q

Schedule J monthly expenses §
toe N@t monthly income (aibtraa ).¢\ > _i
sum of lines 8B and 95 from line $ 4 44 _(Q §
7|3. lftotal islessthan zero, put '
the number in brad<ets.)

 

. . _,__ _....,......\,...-\-

873}0532!63?

i.....»..w.wi»i.a maroiiieai Form.z:".i (izioe) W. »

t
i
i
l
ii

i
.
z
!
!

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

’i'i. B<p|ain with specificity any difference between the income amounts (7A and ?B):

"' t *12,* t E<plain with specificity any'ciifference between the expense-amounts ('SA'and*BB :"* t m nw tit t t a m m t t t t f

if line ‘i'l cr 12 is-cornpleted, the undersigned debtor, and joint debtor if appiicable, oertifiesthat any explanation
contained on those line lstrue and oorreot.

imbng re

Signature of Debtor Sgnat tire of .Jcint Debtor (if applicable1 and
(only required if Line ft or t2 is oompleted) only required if Line 11 or 12 is ccmpletsd)

 

Other information

|:| Checi< this box if the total on line ’IOB'isiessthan zero. if that number ls lessthan ziero, a pres.imption cf undue
hardship arises (unieesthe creditor isa credit union} and you must explain With acecificitythe sources of funds
available to the Debtor to make the monthly paymentson the reaffirmed debt

Was debtor reprj¢en£m by counsel during the course of negotiating this reaffirmation agreement?
Yes / i\lc

‘ ~'““"“wewamwemm. wammeemia;m wew»wwiee a -““‘

 

if debtor Was represe ed by-oounsel during the course of negotiating this reaffirmation agreementl has counsel
executed a certifi on (affidavit or declaraticn) in suppori of the reaffirmation agreement?
Yes _ No

  
 

 

F|LE'{S CERTIF|GA”HON

l hereby certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
parties identified ori this Feaffirmation Pgreement Cover Sheet.

isi® Q"Q/Q l (MQo/+eawt mm

$.i'gnature \'° v Print/Type Name of Signei"s F%ielaticn to Case

373!0532!637

 

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

 

 

 

   

 

 

 

[Nore: Compfets Pcrr E crin ifci`ebtcr was riot represented by an attorney during the course cf
negotiating this agreement Notc alsc: ffycii complete Pctrr E, you must prepare midee Form
240€ ALT- OFri'er on Rea_;j‘trm.:ii!cn Agrecmenr,]

`Nnme of 'Creditor: Santalider Ccnsumer USA Inc.. DBA ])rive Finani:ial

m [Check this box U’] C:reditcr is a Credit Union as defined in §19(b)(1)(a)(iv) of the
Fedcral Rescryc Act

PAR‘I` A: DISC‘LOSURE STATEMENT, INSTRUCTIONS ANI) NO'I`ICE 'I`O DEBTOR

1. DISCLUSURE STATEMENT

324 ~ f l:i . . , ,
Bffsis:»iri (0. - s@»r§ifi"m“e%ee aaa »»..§ - ;
n No Presumption of Undue Hardship
(Cbeolc box as directed in Part D: chtor's Stritemeiit i
in Support ofReei"firmetion Agreeincnt.) j
-i
UNITED ¢STATES BANKRUPTCY COURT :'
EASTER_N metch cit New Yoiu<; i
Inre: Bky.No. 11~?1596
l
fIiHOi\i/Ii¢\_S#S:'l'$rii"\f¢ISj f ~ w f f » f f n ~ f iii fee f f f f f f f f *~~~» ¢Cllapfere'?'e#~~ ’
Debtor(e) 5
i
aaa A'J:ior~i AGREEMENT
[Indz`ccire all documents included fn rhfsfiling by checking each applicable box]
§ Pa:rt A: Disclosu.rcs, lnstructions, . Part D: Debtor‘s Statementin Support of :
and Notice to Debtoi' (Pages 1 - 5), Reat`firmation Agreeinent
l Pal't B? Reaf§l'mation Agf€@m@nt n Part E: Motion for Court Ajpptoval §
|:] ]?art C: Certit'ication by Debtcr's
Ati;orney

 

Be_forc Agreaing to Rea_f)‘frm a Debt, Revz’ew These Impcriarir Di'sclosiiires:

SUMMARY OF REAFFIRMATION AGREEMENT

Tliis Summayy is made pursuant to the requirements of the Ba.nl<iuptcy Code.

])ATE OF DISCLOSURE STATEMENT: MARCH 16, 2011

AMOUNT REAFF[RM]I`,D

Thc amount cf debt you have agreed to reaffirm §18,9{}5.43

The amount cfdebi‘yc):i have agreed itc reaffirm includes ailfees and costs (§'fany) that have

 

accrued as cf the lime_crf“tki;wi'iisulpeure._l’mrr_craiii;`mgreamerrit“muy?rb'£iguraymi!'to]tmy_rrdzii'rivuni
amounts which may come due after the date qf this disclosure Consiilr your credit agreement

873)'0532i637

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

i

'~“~“*‘-~ “*“-“~'“_“_“Fm m'Z4GAtB~AL-T"-Reaffirmaticn"Agrecm ent(€ontr)““-‘~~“r“r|r| 341 59 g pxxxkgiyo§32“;*37015332"p§ggw2¢mww»»wae
ANNUAL PERCENTAGE RATE

il jThe annual percentage rate can be disclosed in different ways depending on the type ofdebt.]

a. If the debt is an extension of “credit” under an “open end credit plan,” as those terms
are detined in § 103 ot" the Trath in Lending Act, such as a credit card the creditor may disclose
the annual percentage rate shown' m (i) below or, to the extent this rate` 1s not readily available
, ini, , or not applicable, the simple interest rate shown in (ii) below, or both. a 7 j am ne ii n f m a a ¢¢¢¢¢¢

(i) The Annual Perccntage Rate disclosed, or that Would have been disclosed, to the

debtor in the most recent periodic statement prior to entering into the reaffirmation

agreement described in Part B below or, if no such periodic statement Was given to the
1 debtor during the prior six months, the arnmal percentage rate as it Would have been so
t disclosed at the time of the disclosure statement %

_ Aria'/Or --

(ii) The simple interest rate applicable to the amount reaffirmed as of the date this !
disclosure statement is given to the debtor: %. It`dit`:t`ercnt simple interest
rates apply to different balances included in the amount reaffirmed the amount oi` each
balance and the rate applicable to it are:

$ m__,..Fm@ ____~_%;
$__________ w%; i
3 @ %. l

b. It` the debt is an extension of credit other than under than an open end credit plan, the
creditor mapr disclose the annual percentage rate shown in (i) below, or, to the extent this rate is
. not readily available or not applicablc, the simple interest rate shown in (ii) belcw, or both. i
(i) 1 ne Annnal-PerccntagcRatennder§128(a}(4)~oftlre:.l”rnth_lanndrng_ift"as”_”“___i
disclosed to the debtor' 111 the most recent disclosure statement given to the debtor prio1
to entering into the reaffirmed on agreement With respect to the debt 01, if no such i
disclosure statement Was given to the debtor, the annual percentage rate as it Would §
have been so disclosed: 19.05%

 

~+“ Anci/Or --

(ii) 'I‘he simple interest rate applicable to the amount reaffirmed as of the date this :
disclosure statement is given to the debtor: %. l't` diHerent simple interest l
rates apply to different balances included in the amount reattinned, ;
l

 

873!0532,‘63'?

l CaS€ 8-11-71596-&8'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

  

Re__=; mention A‘_greem 11 ' _C_ont. 7
‘ ' '-'»\-'_'tlu».i.~=£-PM$§F »- "' \' L‘$-:'s `

 

the amount of each balance and the rate applicable to it are:

s @ _%;
z t $_____ @ ____,m%;
§ sM @ %.

1 _ c. ]t` the underlying debt transaction Was disclosed as a variable rate transaction on the
g 7 ;7 7 j j j 7 most zenent§lisciosure givenundet the 'lliutnin Lending,Act:, ,

The interest rate on your loan may be a variable interest rate which changes from time
to time, so that the annual percentage rate disclosed here may be higher or lower.

d. lt` the reaffirmed debt is secured by a security interest or lien, Which has not been
Waived or determined to be Void by a final order of the eourt, the following items or types of
items of the debtor’s goods or property remain subject to such security interest or lien in
connection With the debt or debts being reaffirmed in the reaiiinnation agreement described in

Pcrt B.
Ite;tn or e of Itein ()`riginal Purohase Price or 01‘igjnal Arnount of Loan
07 JEEP GRANI)- CHEROK $21,730.07

Opn'cMi_' ---At the efection office creditor, a repayment schedule using one or c combination of
the following may be provided

Repayment Scheclule:
Your iirst payment in the amount of $ _ is due on (date), but the future

payment amount may be different Consult youx reat`tinnation agreement or'credit agreement as
§ applicable

`>

 

j 7 7 7~~-£1::---

Your payment schedule Will be: ` (nu:mber.) payments in the amount oi°`$m_W
each, payable (monthly, annually, weekly, ete.) on tlie (day) of each
(Weel<, month, etc.), unless altered later by mutual agreement in writingl

.......O}'-__

A. reasonably specific description of the debtol"s repayment obligations to the extent known by
the creditor or creditor’s representative

[ ] payment of $ on , and

[ ] payment of $ on , and

[x] in Monthly installments of $508.60 commencing on May 9, 2011 and
continuing on the same day of each succeeding month.

 

§ [ x ] 'I`he remaining balance is due on January 9, 2016

873!0532!637

»
1
.
§-' . \'.-4 “nr#.:w»»--..,..-.~
l
i
i

l
:
l

. t il'orm 24|,.0.A.)'B.riL_'l.`..=.Reaftirmunion.j.¢kgrtu~.luent.("Clont.).._,_,,,,.,m w_,"| 1 ;Zjl_ §§J_§__{_\xxxxx?_[l§_$gol,§_lil§§§,;,BagaMW,,

' oareftillyT Thei'r, if you*want to fea'ft'lfln,' eing the reaffirmation agreement iii Pait B (orj;'t)ttl.'n€@fj n j

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

l
i
annot
2. H\TSTRUCTIONS AND NOT].CE '].`O DEBTOR

Reaffirming is a serious financial decision The law requires you to take ’
certain steps tc make sure the decision is in your best interest If these steps are not completed
the reaffirmation agreement is not effective, even though you have signed it.

l, Read the disclosures in this Part A carefully Consider the decision to reaffirm
use a separate agreement you and your creditor agree on).

2. Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and
signed reaffirmation agreement

3. if you were represented by an attorney during the negotiation of your reaffirmation
agreement, the attorney must have signed the certification in Part C.

4. if you were not represented by an attorney during the negotiation of your
reaffirmation agreement, you must have completed and signed Part E.

5.. The original of this disclosure must be filed with the court by you or your creditor. `
lfa separate reaffin.nation. agreement (other than the one in Part ]3) has been signed, it must be
attached

6. If the creditor is not a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes
effective upon filing with the court unless the reaffirmation is presumed to be an undue
hardship as explained in Part D. lf the creditor is a Credit Union and you were represented by
an attorney during the negotiation of your reaffirmation agreement your reaffirmation
agreement becomes effective upon filing with the court

7. If you were not represented by an attorney during the negotiation of your

' reaffirmation agreement, it will not be effective unless the court approves it, The court will

notify you and the creditor of the hearing on your reaffirmation agreement You must attend this
hearing in bankruptcy court where the judge will review your reaffirmation.agreement. The
bankruptcy court must approve your reaffirmation agreement as consistent with your best
interests, except that no court approval is required if your reaffirmation agreement is for a
consumer debt secured by a mortgage, deed of trust, security deed, or other lien on your real
prop erty, like your home

 

37 310 532!637

CaS€ 8-11-71596-&8'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238229
|
l

|u.md _W»awm-prauasathnsttmhestuaamaaecremsnf (Qsa.ttcmt.- WMJWMMMQEHMWOW »Eaee- 5»-»~-».~~~ ~~
i

YOUR RIGHT TO RESCIND (CANCEL) Y(}UR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaftinnation agreement at any time before the i
bankruptcy court enters a discharge order, or before the expiration of the 60 day period that
begins on the date your reaffirmation agreement is filed with the court, whichever occurs later.
'l`o rescind (cancel) your reaffirmation agreement, you must notify the creditor that your
reaffirmation agreement is rescinded (or canceled).

Frequently asked questions: §

i What are your obligations if you reaffirm the debt? A reaffinned debt remains your
personal legal obligation lt is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt after your banio'uptcy case is over, your creditor may be able to
take your property or your wages Otherwise, your obligations will be determined by the
reaffirmation agreement which may have changed the terms of the original agreement For
eaample, if you are reaffinning an open end credit agreement the creditor may be permitted by

that agreement or applicable law to change the terms of that agreement in the future under
certain conditions

Are y ou rem'lired to enter into a reaffirmation agreement by any law? NO YOH me not
required to reaffirm a debt by any laW. Only agree to reaffirm a debt if it is in your best interest
Be sure you can afford the payments you agree to malce.

§ What if,your creditor has a security interest or lien‘? Your bankruptcy discharge does not
- eliminate any lien on your propertyl A ‘ ‘lien” is often referred to as a security interest, deed of

trust, mortgage -or security deed. Even if you do not reafhrm and your personal liability on the

debt is discharged because of the lien your creditor may still have the right to take the security

property if you do not pay the debt or default on it. If` the lien is on an item of personal property

that' 1s exempt undel your Statc’ s law or that the trustee has abandoned, you may be able to
'_"Wedemumeiteniradierthanrcaffnnl the-debt.~Toredeen-l,- ycu- -r-na-lee-a~ ~sin-gl~e- payment-to- -the__--"_-

cleditor equal to the current yalue of the security property, as agreed by the parties or
determined by the court

NOTE: When this disclosure refers to What a creditor ‘ ‘may’ ’ do, it does not use
the word “may” to give the creditor specific pennission. The word ‘ ‘may” is
used to tell you what might occur if the law permits the creditor to take the action
if you have questions about whether to reaffirm a debt or what the law requires,
consult with the attorney who help ed you negotiate this agreement reaffirming a.
debt if you don’t have an attorney helping you, the judge will explain the effect
of your reaffirming a debt when the hearing on the reaffirmation agreement is
held.

 

§ 873/ll 532!637

i
F
l
l
i
\
l
|
l

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

§ma,,».,.,eaaww.i;@ane.%s!§eiif.eiiLeit§eii!raettpaeeeeiaeati&we)»a.-t-,.r.- a.-. »..1i.:m.§d§ia&aaam§§£aeai§de§a§eeaewwim a .

PART B: REAFFIRMATION AGREEMENT

I (We) agree to reaffirm the debts arising under the credit agreement described below.

1. Briei` description of credit agreement:
' Contraet dated January 10, 2010.

2. Description of any changes to the credit agreeinth made as part of this
reaffirmation agreement

See PART A: DISCLOSURE STATEMENT for reaffirmed amount, interest
rate and payment terms. Unless otherwise changed in this reaffirmation
agreement, I (we) reaffirm all other terms and conditions of the credit
agreement Any changes to the credit agreement contained in this
reaffirmation agreement will not be effective ii` this reaffirmation agreement is
rescinded or disapproved by the court.

 

SIGNATUREL§};
Borrower: Aeo§g. ted by Creditor:

Santande!* Consumer USA Inc., I)BA Drive Financial
(Print Na;me) l (Printed Name of Creditor)

1 t 3585 N. Stemmonsrm
<,\;‘/:~"'RBQX b§%w/;\ Ste 1100-rdi

. miles Tx 75247
(Siguature)

».» (Address of Creditor)
Date: "

1 W`-_TA .}’
Co-Borrower , if also reaffirmng these debts: (Siénatm~¢) 7 f 7

- CZWC i;tw

 

 

 

 

(Print Name) (Printed Name and Title of Individuai
Signing for Creditor)

{Sigiiature) Date of creditor aeceptanee:

Date: S“ W( +'~{{

 

 

87'3!0532!637

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29
|

sargent . .. ..._Eerrn.a£lne!hai.i!;i-:Beaftirmatieaedemand§r.>.nt~).t.taaa:ataii,it?aaiagainKXXXX?053;2.,»£.§§19§§.§§;;£§§9§JWM~......MW|

PART C: CERTIHCATIoN er DEBTOR’S ATToRNEY (1F ANY)

[To befilecl only ij`rhe attorney represented the debtor in negotiating the rea}?irmadon `
agreement.] i

 

l I hereby certify that (i) this agreement represents a fully informed and voluntary
agreement by the debtor', (2) this agreement does net impose an midue hardship on the debtor
or any dependent of the debtor; and (3) 1 have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement

n [Check box, if applicable and t z' r is not a Credit Union.] A presumption of
_ undue hardship has been established 't re et o this agreement In my opinion, however,
§ the debtor is able to make the required a n

 

Printed Naine of Debtor‘s Attorney:

 

U \/
Signature of Debtor"s Attorney: . “\\ WW 64 ' 5 w

 

 

 

 

873/0 532f63?

m,_-,.~. sw.»..‘.=.1.-..»..-=..»,].?91‘111.24.0¢$/1.§_¢;3.1£1_1 :,"Reafmm.almidgnmmoa.ti(Q.Q.Iit-.)M-,,.\. amald,."'.U-§§ili LMM,§MM»§U§§%B§Q§“§WM .

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

PART D: DEBTOR’S STATEMENT IN SUPPOR'I` OF REAFHRMATION AGREEMENT

[Reacl and complete numbered paragraphs l and 2, Q_j_?,,¢ ifthe creditor is cl 'Credii Um'on

amf rko debtor is represented by an oitorney, read section 3. Sign the appropriate signature
line(s) and date your signature Ifyoa complete paragraphs 1 ono"Z ring your income less
monthly expenses does not leave enough to make the payments under this reo)j‘irmotion
agreement check the box di the top of page 1 indicating "Fre.s'nmpiion of Undtte Hordshiz), ”
Otherwise, check the box ai the top ofpoge l indicating "No Prest:mpfion of Umiue Hordship”]

l. l believe this reaffirmation agreement Will not impose an undue hardship on my
dependents or me. l can afford to make the payments on the reaffirmed debt because my monthly
income (tal<e home pay plus any other income received) is $_Z- §§ 3 1 , and my actual current
monthly expenses including monthly payments oné)§)st~banl<;ruptcy debt and other reaffirmation

agreements total $ 2 %D-cl go leasing $ (4 4' le 2to make the required payments on this
reaffirmed debt.

 

l understand that if my income less my monthly expenses does not leave enough to make
the payments, this reaffirmation agreement is presumed to be an undue hardship on me and must be
reviewed by the court. However, this presumption may be overcome if l explain to the satisfaction
of the court how I can afford to malice the payments here:
'§j__ gm v Q_. SQ\,\-A.\\\ § ¢\_ \;\eewa\}\e\.o § Qn\~:m seedw\\' \\~\DJ\- die al

\ \
0 kL\l. "\~\) \N°'\, \ ~.. A,Ql
°`w\ aba `§Us;\a:`ad§ltiona\ldpage if needed for a ful\l{explanation.) `JQ`H` q' 0 dc\\l g

2. l received a copy of the Reaftirmaiion Disclosure Statement in Part A and a
completed and signed iea:fdnr§tion agreement
l/

Signed: M\§ .¢M,g
.(D@bior)

(JointD btor it` any}
Date: fz 55¢ z g
___. 074 .._.._.

[.lfihe creditor is a Credit Union and the debtor is represented by on ottorney.]

 

3. l'believe this reafiinnation. agreement is in my financial interest I can afford to
make the payments on the reaffirmed debt l received a copy of the Reafiirmation Disclosure
Statement in Part A and a ci:i§),l§:d and signed reaffirmation agreement

Signed: o M_

manion

 

(Joint Debtor, if any)
Date:

 

37310532!637

 

mm.vssmm»e.b,».o,. z .

CaS€ 8-11-71596-38'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29

attestsaaua£htsh?t¢alteatttrmattesntsreew€m.(€nntoma,, manhattanl..staasta§,?t&a§ltt§§§ePase 9. ass

PAR'I` E; MU'I`ION FOR COURT A.PPRO.VAL

[To be completed .ono' jiied` only t`frhe debtor is nor represented by on attorney in negotiating the
reaffirmation agreemenf.]

MOTION F()R C()URT APPROVAL OF REAFFIRMATION AGREEMENT,

 

…ignedM§&

 

l (We)¢ the debtor(s), aftthli€follNing to be true and correct:
I am not represented by an attorney in connection With this reaffirmation agreement
l believe this reafEnnation agreement is in my best interest based on the income and

expenses I have disclosed in my Statement in Support of this reaffirmation agreement and
because (proVide- any additional relevant reasons the court should consider).:

Therefore, Iask the court for an order approving this reafiirmation agreement under
the following provisions (check. all applicable boxes):

n 11 U.S..C. § 524(0)(6) (debtor is not represented by an attorney during the
course of the negotiation of the reaffirmation agreement)

m 11 U.S.C. § 524(113) (presumption of undue hardship has arisen because
` monthly expenses exceed monthly income)

(Debtor)

 

(Ioint Debtor, if any)

Date: 512 §GZ/Z

 

873)[|532!637

CaS€ 8-11-71596-&8'[ DOC 11 Filed 05/19/11 Entered 05/19/11 11238:29
l

t
t

<

 

§t.“-.____.¢m_*nz¢todm,r-(Fm-m,moc:.nm:).(o¢rn0;.

¢.-+,..-M_........_.

§ § UNITED STATES BANKRUPTCY COURT
§ EASTERN DISTRICT OF NEW YORK.

i- 111 re: Bl<y. No. 11~71596
§ THOMAS S. DAVIS Chapter 7
§ ; Debtor(e)

 

ORDER*GN*REAFFIRIVIATION*AGREET\¢'IENT

 

t § The debtor(s) have filed a motion for approval of the
` i (Name(s) of debtor(S))

j § reaffirmation agreement dated made between the debtor(s) and
= ' (Date of agreement)

. The court held the hearing required by 11 U.S.C. § 524(d)
(Narne of oreditor)

on notice to the debtor(e) and the creditor on

§ rome

COURT ORDER: L_..l The court grants the debtors motion under 11 U.S.C. § 524(0)(6)(A)
and approves the reaffirmation agreement described above as not
imposing an undue hardship on the debtor(s) or a dependent of the
debtor(a) and as being in the best interest of the-debtor(s).

n The court grants the debtors motion under 1'1 U.S.C. § 524(1<)(8) and
approves the reaffirmation agreement described above

ij The court does not disapprove the reaffirmation agreement under
11 U.S.C.\ §§ 524{111).

E The court disapproves the reafrinnation agreement under
11 U.S.C. § 524(m).

m The court does not approve the reafl‘irmation agreement

BY THE COURT

l]lal:e:mm
l Um`ted Stotes chkr'uptcy fudge

 

 

873.'0532|'637

